Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 1 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 2 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 3 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 4 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 5 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 6 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 7 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 8 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 9 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 10 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 11 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 12 of 13
Case 1:20-cr-00053-NCT Document 2 Filed 02/24/20 Page 13 of 13
